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                        EXHIBIT A
9/22/2021                                                Case
                                                 Expansion        1:19-cv-03831-CJN
                                                           of Collections Pause to Defaulted FFELDocument
                                                                                                  Program Loans19-1
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                                        letters/2021-05-12/expansion-collections-pause-defaulted-ffel-program-loans-
                                        managed-guaranty-agencies-updated-may-24-2021
     PUBLICATION DATE: May 12, 2021
     DCL ID: GEN-21-03
     SUBJECT: Expansion of Collections Pause to Defaulted FFEL Program Loans Managed by Guaranty Agencies (Updated
     May 24, 2021)
     SUMMARY: This letter informs Guaranty Agencies (GAs) of their obligations regarding Federal Family Education Loan
     (FFEL) Program loans that are in default.


                Note
            On May 24, 2021, we updated the description for Population 2 in the second paragraph of the announcement.



     Dear Colleague:
     On March 30, 2021, the U.S. Department of Education (Department) announced  an expansion of the pause on federal student
     loan interest and collections on all defaulted loans in the FFEL Program that are managed by GAs. These flexibilities will be in
     place for the same period of time as the pause for loans held by the Department, which is currently slated to run through
     September 30, 2021.
     There are three populations of FFEL Program loans covered by the announcement:
              Population 1 includes outstanding loans on which a default claim was paid prior to March 13, 2020, that are not subject to
              an active bankruptcy filing, and are still in default as of the date of this letter;
              Population 2 includes outstanding loans on which a default claim was paid on or after March 13, 2020 and on or prior to
              the end date for the pause for loans held by the Department, that are not subject to an active bankruptcy filing, and are in
              default on or after the date of this letter; and
              Population 3 includes outstanding loans that were in default during the pandemic (regardless of when the claim was paid)
              and for which that default was resolved through rehabilitation or consolidation prior to the date of this letter.

     Actions Required to be Taken for Population 1
     GAs must take the following actions for loans in Population 1:
              Interest rates must be set to 0%;
              Payments received through Administrative Wage Garnishment (AWG), the Treasury Offset Program (TOP), and other forms
              of involuntary collection since March 13, 2020, must be refunded;
              Borrowers who made voluntary payments must be given the option for a refund of those payments;
              All forms of involuntary collection must be suspended;
              All collection attempts (including billings) must cease; and
              Borrowers with active rehabilitation agreements must be notified they are not required to make further payments to
              receive credit toward rehabilitation.

     Actions Required to be Taken for Population 2
     GAs must take the following actions for loans in Population 2:
              All actions required for Population 1 loans;
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              Deleting the GA’s trade line from a borrower’s credit report entirely; and
              Mandatory assignment of these loans to the Department.

     Actions Required to be Taken for Population 3
              All actions required for Population 1 loans; and
              Sending financial adjustments and associated money to purchasing lenders (for loan rehabilitations) or the Department
              (for loan rehabilitations or consolidations).
     Below, we explain in more detail each action that GAs must take and waivers of the Higher Education Act of 1965, as amended
     (HEA), and the Department’s implementing regulations that the Department will exercise to facilitate these actions.

     Borrower Communications
     GAs must notify affected borrowers of the actions taken pursuant to this letter, of their right to request a refund of voluntary
     payments, and how the pause on collections and flexibility related to loan rehabilitation and other repayment agreements
     impacts their loans. In addition, GAs must notify borrowers if their loans will be assigned to the Department for removal from
     default.
     In addition, in a reasonable time frame after the Department announces that the payment pause will end and before it in fact
     does end, GAs must notify affected borrowers whose loans are still with the GA that the pause will be ending and how to
     prepare for repayment or collections to resume. The Department will notify GAs about the requirements for notifying borrowers
     about the end of the pause at a later date.

     Interest Rates
     GAs charge a rate of interest that is defined by law, the borrower’s promissory note, and any modifications to the loan
     agreement agreed to by the GA (e.g., through an incentive program).
     In accordance with the Department’s announcement of March 30, 2021, the interest rate on all loans managed by a guaranty
     agency must be reduced to 0% retroactively effective to March 13, 2020, but only for the period that the GA held the loan, and
     all transactions since that date must be reapplied using this rate. This requirement includes loans that were subject to a
     voluntary repayment agreement or a rehabilitation agreement. To the extent that the loan must be assigned to the Department
     because it is in Population 2, all adjustments that need to be made to the loan should be made prior to assignment.

     Involuntary Collections (e.g., AWG and TOP)
     For all three populations, all payments on loans made through involuntary collection methods (including administrative wage
     garnishment, Treasury offset, and state offset methods) received on or after March 13, 2020, or applied to the borrower’s
     account with an effective date on or after March 13, 2020, must be refunded to the borrower, including any portion of the
     payment that the GA retained for collection costs. These payments must be directly refunded to the borrower by the GA. Should
     the refund be returned as undeliverable, the GA must reapply the funds to the borrower’s account to avoid escheatment. For
     loans in Population 2, refunds that are returned after the loan has been assigned to the Department must be forwarded to the
     Department for application to the borrower’s account following normal procedures. These refunds must include any collection
     costs charged to the borrower. The GA may reimburse itself for these lost collection costs out of its Federal Fund as discussed
     below.
     Please note that the Department has instructed the U.S. Department of Treasury (Treasury) to suspend offset against all
     borrowers whose loans are managed by the GAs, regardless of when the GA certified the borrower for the Treasury Offset
     Program. Unfortunately, we cannot obtain address information for borrowers from Treasury.

     Voluntary Payments
     For all three populations, borrowers must be given the option to request a refund of any voluntary payments made on or after
     March 13, 2020, including payments made pursuant to a rehabilitation or other repayment agreement. The refund must include
     the portion of the payment that the GA retained for collection costs. GAs must document that they informed the borrowers of
     their right to request a refund. For loans in Population 2, after the loan is assigned to the Department, the borrower will only be
     able to request a refund from the Department by making the request to the borrower’s new federal loan servicer. GAs must
     allow borrowers to request a refund as long as these flexibilities remain in place.

     Collection Attempts
     All collection attempts on defaulted loans owed by Population 1 and Population 2 borrowers must cease, including notice or
     welcome letters that a GA would send when it receives a defaulted FFEL Program loan from a FFEL Program lender or the
     notice in 34 CFR 682.410(b)(6)(ii), and all other actions otherwise required by 34 CFR 682.410(b)(6) and (b)(9) must cease. This
     prohibition does not prevent a GA from counseling borrowers about the terms of their loans such as repayment plans that may
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     prohibition does not prevent a GACase
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                                              counseling borrowers  about the terms of their loans, such as repayment plans that may
     be available if their loan is removed from default, processing voluntary payments, etc. Indeed, we encourage such actions.
     However, it does prohibit a GA from requesting or demanding payment from a borrower, or billing a borrower, while the
     “payment pause” is ongoing.

     Loan Rehabilitation & Eligibility Reinstatement
     Loan rehabilitation is not automatic, and a borrower must have a rehabilitation agreement with the guaranty agency to
     rehabilitate a defaulted loan during the pandemic. However, for borrowers who have entered into a rehabilitation agreement,
     the months following the entry into the agreement in which payments are not required, made, or made and then refunded per a
     borrower request will be counted as a payment toward the required nine payments within 10 months. In addition, any payments
     missed on a rehabilitation agreement on or after March 13, 2020, must now be treated by the GA as if they were made. To
     provide parity with the treatment of loans held by the Department, a GA may not add collection costs to the loan when it is
     successfully rehabilitated but may reimburse itself for those costs as discussed below. Additionally, any borrower who was
     seeking to reestablish eligibility for Title IV aid by making satisfactory repayment arrangements (either through or independent
     of a rehabilitation agreement) must be given credit toward the six required payments to reestablish eligibility for payments
     which would have been owed except for the suspension. However, credit for these suspended payments will not apply to
     borrowers seeking to make satisfactory repayment arrangements for the purposes of establishing eligibility for loan
     consolidation.

     Credit Reporting
     Loans in Population 2 will be returned to good standing. GAs must assign these loans to the Department and request that credit
     reporting agencies delete the GA’s entire tradeline and all history from the borrower’s credit report.
     For loans in Population 1, no changes should be reported to credit bureaus. The Department, for its portfolio, is continuing to
     report these loans as “defaulted,” and a GA should do the same.

     Default Aversion & Default Claims
     We strongly encourage FFEL Program lenders to offer borrowers the maximum repayment flexibility authorized by law and
     regulation during the pandemic, and specifically recommend counseling borrowers who are struggling to repay their FFEL
     Program loans about loan consolidation options and the Income-Based Repayment (IBR) Plan in simple terms. However, loans
     that become delinquent must be submitted by a lender to the GA for default aversion, and loans that default during this time
     must be submitted by a lender to the GA for claim payment. GAs must continue to pay default claims on such loans if the
     applicable statutory and regulatory criteria are met and then promptly assign those loans to the Department.

     To focus GA resources on ensuring that such loans are promptly assigned to the Department, GAs will not be required to treat
     these loans any differently from any other loan on which a GA would have suspended collection immediately after claim
     payment.

     NSLDS Reporting
     When reporting on these loans to the National Student Loan Data System (NSLDS), loan statuses, effective dates, and interest
     rates should stay as they are in NSLDS. To the extent that AWG or TOP payments were reported that were subsequently
     refunded to the borrowers, GAs should follow existing procedures for reporting such changes to NSLDS.

     Mandatory Assignment
     The Department will exercise its discretion in 34 CFR 682.409(c)(6) to permit GAs to assign loans to the Department without
     the documentation that is typically required. The Department will request documentation from the GA at a later date. Loans
     that are currently subject to a bankruptcy filing must remain in their current status to avoid violating the automatic stay that
     applies to loans in bankruptcy. Once the bankruptcy case is resolved, the loan should be assigned to the Department, or
     whatever other action is appropriate should be taken depending on the result of the bankruptcy case. If a loan defaulted during
     the pandemic and the borrower is working toward rehabilitation, those loans should also be assigned to the Department.
     Effective immediately, a GA must pause assigning loans that it would have otherwise assigned until it
     receives instructions from the Department to resume those assignments. To expedite the removal from default of loans in
     Population 2, and once GAs are instructed to begin assigning those loans, only the Population 2 loans should be assigned until
     the Department instructs GAs otherwise. Once “regular” mandatory assignments resume, the Department will again exercise
     its discretion in 34 CFR 682.409(c)(6) to permit assignment of loans to the Department without the documentation that is
     typically required.
     If the GA has received a claim on a loan from the lender and has paid the claim but has not yet submitted the request for
     reinsurance to the Department, the GA should request reinsurance and assign the loan to the Department for removal of the
     loan from default.

     Consolidations
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     For any borrower in the process of consolidating a loan in Population 1, the GA should continue to process any Loan Verification
     Certificates (LVCs). Furthermore, the GA must complete all retroactive transactions, such as refunds and interest re-accrual,
     before responding to the LVC. Payoffs that occur based on an LVC submitted to a GA on or after March 30, 2021, and for which a
     GA could not complete retroactive transaction processing prior to payoff, should be submitted through the over-/under-
     payment process for consolidation loans. A GA may add collection costs to the payoff amount, up to 2.8% of the loan balance
     consolidated to match what is currently charged to similarly situated borrowers in Direct Lending. A GA may then seek
     reimbursement from the Federal Fund for up to 7.2% of the loan balance consolidated.

     Order of Transactions
     The Department understands that many financial transactions and adjustments will be required to implement these actions
     and that such actions will take some time. We will not specify the order in which transactions occur so long as, when all
     adjustments are completed, the borrower’s loan is correctly reconstituted. For example, a GA could refund payments before
     setting rates to 0% or could set rates to 0% and then refund payments. However, as a reminder, for loans in Population 2, all
     financial adjustments must be completed before loans are assigned to the Department.

     Reimbursement of Lost Revenue
     The Department is authorizing a GA to reimburse itself from the Federal Fund for lost revenue that it will realize because of
     these actions. However, that reimbursement will only cover the share of what a GA might have reasonably collected during the
     pandemic but for the suspension. Lost revenue calculations will need to be submitted to Federal Student Aid’s Office of Partner
     Participation and Oversight’s Financial Oversight Service Group.
     GAs may reimburse themselves for this lost revenue from the Federal Fund on a quarterly basis based on their good-faith
     estimates, and without the requirement for prior approval from Federal Student Aid as to lost revenue. When the suspension
     ends, the Department will compare the total amount reimbursed to the amount of lost revenue as submitted by the GA, with an
     attendant over-/under-payment process.
     The Department is not setting specific requirements for the GA’s estimate of its lost collection revenues for the purposes of
     seeking reimbursement from the Federal Fund, but the estimate must be made in good faith and supported by the GA’s records.

     Waivers
     In addition to those waivers that will be necessary to facilitate the above actions, which will be in a forthcoming HEROES Act
     Federal Register Notice, the Department will waive the following statutory and regulatory provisions for federal fiscal years at
     least partially overlapping with the national emergency:
              Minimum Reserve Ratio (34 CFR 682.410)
              Limits on Loan Consolidation Volume (34 CFR 682.401(b)(18))
              Reinsurance Trigger Rate (34 CFR 682.404(b))

     Conclusion
     We thank the Guaranty Agencies for their interest and cooperation in helping borrowers during the uncertainty of the
     pandemic. If a GA has questions about implementing the provisions in this letter, please contact both Michael Sutphin at
     Mike.Sutphin@ed.gov and Jennifer.Hong@ed.gov.
     Sincerely,

      Annmarie Weisman                                                                                                 Richard Cordray
      Deputy Assistant Secretary                                                                                       Chief Operating Officer
       for Policy, Planning, and Innovation                                                                            Federal Student Aid
      Office of Postsecondary Education




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